                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                               CASE NO.: 5:04CR19

UNITED STATES OF AMERICA,           )
          Plaintiff                 )
vs.                                 )
                                    )                        ORDER AUTHORIZING
BILLY RAY HAMBY, JOSE DE JESUS )                            TRANSLATION SERVICES
ARRELLANO-RAMIREZ, MIGUEL           )
SANCHEZ-RODRIGUEZ; JUAN             )
RODRIQUEZ-MARTINEZ and OSCAR )
RIOS TIZNADO,                       )
            Defendants.             )
                                    )
___________________________________ )

       Before the Court is Defendant Jose De Jesus Arrellano-Ramirez’ motion for an order

authorizing translation services in this case, filed April 19, 2005. Because a similar motion was

granted in June 2004, the motion shall be denied as moot.

       NOW, THEREFORE, IT IS HEREBY ORDERED that Defendant’s Motion for

Authorization of Translation Services, shall be and hereby is DENIED as moot.




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                         Signed: May 12, 2005




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